Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 1 of 26 PageID #: 10616
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 2 of 26 PageID #: 10617
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 3 of 26 PageID #: 10618
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 4 of 26 PageID #: 10619
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 5 of 26 PageID #: 10620
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 6 of 26 PageID #: 10621
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 7 of 26 PageID #: 10622
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 8 of 26 PageID #: 10623
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 9 of 26 PageID #: 10624
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 10 of 26 PageID #: 10625
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 11 of 26 PageID #: 10626
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 12 of 26 PageID #: 10627
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 13 of 26 PageID #: 10628
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 14 of 26 PageID #: 10629
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 15 of 26 PageID #: 10630
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 16 of 26 PageID #: 10631
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 17 of 26 PageID #: 10632
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 18 of 26 PageID #: 10633
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 19 of 26 PageID #: 10634
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 20 of 26 PageID #: 10635
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 21 of 26 PageID #: 10636
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 22 of 26 PageID #: 10637
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 23 of 26 PageID #: 10638
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 24 of 26 PageID #: 10639
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 25 of 26 PageID #: 10640
Case 1:05-cr-00060-NGG Document 1262-18 Filed 06/03/11 Page 26 of 26 PageID #: 10641
